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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE: Randy Jay Spencer,           :                  Case No. 24-10166-JCM
                                       :
               Debtor.                 :                  Chapter 13
   ____________________________________:
         Randy Jay Spencer,            :
                                       :                  Document No.:
               Movant,                 :
                                       :                  Related Document No.:
                       v.              :
                                       :                  Related Claim No.: 3
         Galaxy Federal Credit Union,  :
                                       :
               Respondent.             :

                   DEBTORS’ OBJECTION TO PROOF OF CLAIM NO. 3

           AND NOW comes the Debtor, Randy Jay Spencer (“Debtor”), by and through his

   counsel, Brian C. Thompson, Esquire, Thompson Law Group, P.C., and hereby objects to

   Proof of Claim No. 3, filed by Galaxy Federal Credit Union (“Respondent”), as follows:

           1.       Movant is the Debtor in the above-captioned bankruptcy case.

           2.       On March 26, 2024, Debtor filed for protection under Chapter 13 of the

   Bankruptcy Code.

           3.       On May 9, 2024, Respondent filed Proof of Claim No. 3 listing

   $94,576.30 as a secured claim. The claim is secured by property located at Parcel ID

   08,001-073-000 5273 US 322 Franklin, PA 16323.

           4.       Debtor disputes and objects to the amount Respondent claims is owed.

           5.       Based upon the foregoing, Respondent's Claim should be disallowed in its

   entirety.

                WHEREFORE, Debtor respectfully requests that Respondent’s Proof of Claim

   No. 3 be disallowed in its entirety and such other relief as is just.



   Dated: October 23, 2024                        /s/Brian C. Thompson, Esquire
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